




Dismissed and Memorandum Opinion filed November 25, 2008








Dismissed
and Memorandum Opinion filed November 25, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00853-CV

____________

&nbsp;

JOHN R. HAAS, Appellant

&nbsp;

V.

&nbsp;

ASHFORD HOLLOW COMMUNITY
IMPROVEMENT ASSOCIATION, INC., Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil
Court at Law No. 1

Harris County, Texas

Trial Court Cause No.
906128

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N








This
appeal is from a judgment signed May 28, 2008.&nbsp; A motion for new trial was
filed June 25, 2008.&nbsp; The notice of appeal was filed August 26, 2008, and the
appeal was assigned to this Court on September 5, 2008.[1]&nbsp;
To date, our records show that appellant has neither established indigence nor
paid the $175.00 appellate filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent);Tex. R. App. P. 20.1 (listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals and
Before the Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138
(Tex. Aug. 28, 2007) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). &nbsp;After being given
the requisite ten-days= notice that this appeal was subject to
dismissal, appellant has
not paid the filing fee.&nbsp; 

In
addition, no clerk=s record has been filed. &nbsp;The clerk responsible for preparing
the record in this appeal informed the court appellant did not make
arrangements to pay for the record.&nbsp; On October 3, 2008, notification was
transmitted to all parties of the Court=s intention to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P.
37.3(b).&nbsp; No response was filed.&nbsp; 

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 25, 2008.

Panel consists of Chief Justice Hedges and Justices
Guzman and Brown.&nbsp; 

&nbsp;









[1]&nbsp; An earlier notice of appeal from the same judgment
was filed June 9, 2008.&nbsp; An appeal was assigned to this Court and subsequently
dismissed for nonpayment of fees.&nbsp; See Haas v. Ashford Hollow Cmty.
Improvement Ass=n., Inc., No
14-08-00502-CV (Tex. App.CHouston [14th Dist.] Sept. 4, 2008, no pet.) (mem.
op.).







